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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

 JOHN DOE,
                Plaintiff
         v.                                        Civil Action No. 15-10790-DJC

 TRUSTEES OF BOSTON COLLEGE,
                Defendant

              REQUEST FOR JURY INSTRUCTION ON SCOPE OF TRIAL

        Prior to this trial, John Doe had an opportunity to argue and present evidence on several

issues that plaintiff’s counsel has alluded to in his opening and his questioning of various

witnesses. I sustained objections to those questions, and excluded that evidence from this trial

because those issues were previously considered and decided in other phases of this litigation.

As a result of those prior rulings, the following issues have been decided in this case:


       It was not a violation of BC’s contractual obligations, which include the obligation of
        basic fairness, for Carole Hughes not to do in initial investigation on her own.

       It was not a violation of BC’s contractual obligations for Ms. Hughes not to hear Doe’s
        side of the story prior to the hearing.

       It was not a violation of BC’s contractual obligations for BC to proceed with the hearing
        prior to the end of the criminal investigation.

       It was not a violation of BC’s contractual obligations for BC to wait for an allegedly
        enhanced video or forensic test results before completing the hearing.

       It was not a violation of BC’s contractual obligations for BC not to permit Doe’s private
        investigator to testify at the hearing.

       It was not a violation of BC’s contractual obligations for BC to find Doe responsible for a
        lesser included offense – a charge of indecent assault and battery, which is a lesser
        offense then digital rape.

       It was not a violation of BC’s contractual obligations for BC to limit the role of attorneys
        at the disciplinary hearing.




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       It was not a violation of BC’s contractual obligations for BC not to make an audio
        recording or stenographic record of the hearing.

       It was not a violation of BC’s contractual obligations for Mr. Herlihy to meet with the
        Board members after their deliberations concluded.

       The board members are presumed to be impartial and the evidence does not support a
        claim of bias against BC.

       The disposition of the criminal case is of no relevance to the limited issue of interference
        that remains to be decided in this case.

                                              TRUSTEES OF BOSTON COLLEGE,

                                              /s/Elizabeth H. Kelly
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                                       Certificate of Service

               This document was served by ECF upon all counsel of record on this 20th
        day of September, 2019.

                                              /s/ Elizabeth H. Kelly
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